      Case
      Case1:21-cv-02598-ELR-LTW
           1:21-mi-99999-UNA Document
                                Document
                                      19221 Filed
                                            Filed06/28/21
                                                  06/28/21 Page
                                                           Page11of
                                                                 of88




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

JENELLE BAILEY,                )
                               )
     Plaintiff,                )
                               )
v.                             )               Case No.:
                               )
STICKBRIDGE DIALYSIS           )
CLINIC, LLC                    )
                               )
     Defendant.                )
_______________________________/

      PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

      COMES NOW Plaintiff, Jenelle Bailey (hereinafter “Plaintiff” or “Bailey”)

and files her complaint against Defendant, Stockbridge Dialysis Clinic, LLC (hereinafter

“Defendant” or “Stockbridge”) and in support she states the following:

                           NATURE OF THE ACTION

      1.     This is an action for monetary damages pursuant to Title I of the

Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101 et seq.

(“ADA”), to redress Defendant’s discrimination against Plaintiff due to her

disability leading to her unlawful termination.

                          JURISDICTION AND VENUE

      2.     This Court has jurisdiction of the claims herein pursuant to 28 U.S.C.

                                           1
       Case
       Case1:21-cv-02598-ELR-LTW
            1:21-mi-99999-UNA Document
                                 Document
                                       19221 Filed
                                             Filed06/28/21
                                                   06/28/21 Page
                                                            Page22of
                                                                  of88




§§ 1331 and 1343, as this action involves federal questions regarding deprivation of

Plaintiff’s civil rights under the ADA.

       3.    Venue is proper in this district pursuant to 28 U.S.C. §1391(b) because

a substantial part of the events or omissions giving rise to this action, including the

unlawful employment practices alleged herein occurred in this district.

                                  THE PARTIES

       4.    Plaintiff, Bailey, is a citizen of the United States and at all times

material was a citizen of the State of Georgia, residing in Cobb County, Georgia.

       5.    Defendant, Stockbridge, is a domestic for-profit corporation with its

principal place of business in Stockbridge, Georgia.

       6.    Defendant does business and Plaintiff worked for Defendant in this

District.

       7.    Defendant is an employer as defined by the laws under which this action

is brought and employs the requisite number of employees.

                       PROCEDURAL REQUIREMENTS

       8.    Plaintiff has complied with all statutory prerequisites to filing this

action.

       9.    On or about April 29, 2020, Plaintiff filed a claim with the Equal

Employment Opportunity Commission (“EEOC”), satisfying the requirements of 42

                                          2
      Case
      Case1:21-cv-02598-ELR-LTW
           1:21-mi-99999-UNA Document
                                Document
                                      19221 Filed
                                            Filed06/28/21
                                                  06/28/21 Page
                                                           Page33of
                                                                 of88




U.S.C. § 2000e5(b) and (e), based on disability and retaliation.

      10.    Plaintiff’s EEOC charge was filed within one hundred and eighty

hundred days after the unlawful employment practices occurred.

      11.    On March 29, 2021, the EEOC issued Plaintiff a Dismissal and Notice

of Rights.

      12.    This complaint was filed within ninety (90) days of the EEOC’s

issuance of the Notice of Rights.

                           FACTUAL ALLEGATIONS

      13.    Plaintiff was employed by Defendant in a full-time capacity for

approximately six months. At the time of her termination, Plaintiff held the position

of Licensed Practical Nurse.

      14.    Plaintiff is a disabled female.

      15.    At all times relevant to this action, Plaintiff was a qualified individual

with a disability within the meaning of the ADA. Plaintiff has an actual disability,

has a record of being disabled, and/or is perceived as being disabled by Defendant.

      16.    At all times material, Plaintiff was able to perform the essential

functions of her job with or without accommodation.

      17.    Plaintiff suffers from Lupus and Rheumatoid Arthritis.

      18.    Plaintiff’s disability impacts her major life events including but not

                                           3
      Case
      Case1:21-cv-02598-ELR-LTW
           1:21-mi-99999-UNA Document
                                Document
                                      19221 Filed
                                            Filed06/28/21
                                                  06/28/21 Page
                                                           Page44of
                                                                 of88




limited to walking, standing, lifting, and performing manual tasks.

      19.    Around September 2019, Plaintiff verbally informed Holly Person,

Nurse Manager, and Caleb (last name unknown), Peritoneal Dialysis Manager, of

her medical conditions.

      20.    On or about February 25, 2020, Plaintiff began to experience flu-like

symptoms. As a result, Plaintiff’s doctor advised Plaintiff to remain out of work until

March 4, 2020.

      21.    Plaintiff called Ms. Person to inform her of the same and requested a

brief medical leave. Ms. Person stated that she would inform Plaintiff when she

wanted Plaintiff to provide the doctor’s note.

      22.    While Plaintiff was out, she began to experience a Lupus flare-up.

      23.    On or about February 28, 2020, Plaintiff notified Ms. Person that she

was experiencing a flare-up.

      24.    The following day, Plaintiff’s doctor advised Plaintiff to remain out of

work due to her flare-up. Plaintiff informed Ms. Person of the same and requested a

brief extension of her medical leave.

      25.    On or about March 6, 2020, Ms. Person requested Plaintiff submit a

doctor’s note. Plaintiff informed Ms. Person that she had doctor’s appointment

scheduled for March 10, 2020, and she could provide a doctor’s note at that time.

                                          4
      Case
      Case1:21-cv-02598-ELR-LTW
           1:21-mi-99999-UNA Document
                                Document
                                      19221 Filed
                                            Filed06/28/21
                                                  06/28/21 Page
                                                           Page55of
                                                                 of88




       26.      On March 10, 2020, Plaintiff sent a text message to Ms. Person’s

inquiring about the fax number to submit her medical documentation.

       27.      In response, Defendant failed to engage in the interactive process with

Plaintiff and Ms. Person informed Plaintiff that her employment was terminated.

       28.      Plaintiff has been damaged by Defendant’s illegal conduct.

      29.       Plaintiff has had to retain the services of the undersigned counsel and

has agreed to pay said counsel reasonable attorney’s fees.

             Count I: Disability Discrimination in Violation of the ADA

      30.      Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

stated in Paragraphs 1-29 above.

      31.      At all times relevant to this action, Plaintiff was a qualified individual

with a disability within the meaning of the ADA.

      32.      Plaintiff has an actual disability, has a record of being disabled, and/or

is perceived as being disabled by Defendant.

      33.      Defendant is prohibited under the ADA from discriminating against

Plaintiff because of Plaintiff’s disability with regard to discharge, employee

compensation, and other terms, conditions, and privileges of employment.

      34.      Defendant violated the ADA by unlawfully terminating and

discriminating against Plaintiff based on her disability.

                                              5
          Case
          Case1:21-cv-02598-ELR-LTW
               1:21-mi-99999-UNA Document
                                    Document
                                          19221 Filed
                                                Filed06/28/21
                                                      06/28/21 Page
                                                               Page66of
                                                                     of88




          35.   Defendant intentionally discriminated against Plaintiff on the basis of

her disability.

          36.   As a direct and proximate result of Defendant’s unlawful and

discriminatory conduct in violation of the ADA, Plaintiff has suffered and continues

to suffer, lost wages, lost benefits, as well as severe mental anguish and emotional

distress, including but not limited to depression, humiliation, embarrassment, stress

and anxiety, loss of self-esteem and self-confidence, and emotional pain and

suffering, for which Plaintiff is entitled to an award of monetary damages and other

relief.

          37.   Defendant’s unlawful conduct in violation of the ADA is outrageous

and malicious, intended to injure Plaintiff, and has been done with conscious

disregard of Plaintiff’s civil rights, entitling Plaintiff to an award of exemplary

and/or punitive damages.

                     Count II: Retaliation in Violation of the ADA

          38.   Plaintiff re-alleges and adopts, as if fully set forth herein, the allegations

stated in Paragraphs 1-29 above.

          39.   Defendant retaliated against Plaintiff for engaging in protected activity

when Plaintiff requested reasonable accommodations under the ADA by terminating

her employment.

                                               6
      Case
      Case1:21-cv-02598-ELR-LTW
           1:21-mi-99999-UNA Document
                                Document
                                      19221 Filed
                                            Filed06/28/21
                                                  06/28/21 Page
                                                           Page77of
                                                                 of88




      40.    Defendant’s conduct violates the ADA.

      41.    Defendant’s discriminatory conduct in violation of the ADA has caused

Plaintiff to suffer loss of pay, benefits, and prestige.

      42.    Defendant’s actions have caused Plaintiff to suffer mental and

emotional distress entitling her to compensatory damages.

      43.    Defendant has engaged in discriminatory practices with malice and

reckless indifference to the Plaintiff’s federally protected rights, thereby entitling her

to punitive damages.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiff, requests this Honorable Court:

      a)     Enter judgment requiring Defendant to pay back wages and back

benefits found to be due and owing at the time of trial, front-pay, compensatory

damages, including emotional distress damages, in an amount to be proved at trial,

punitive damages, liquidated damages, and prejudgment interest thereon;

      b)     Grant Plaintiff her costs and an award of reasonable attorneys’ fees

(including expert fees); and

      c)     Award any other and further relief as this Court deems just and proper.




                                            7
Case
Case1:21-cv-02598-ELR-LTW
     1:21-mi-99999-UNA Document
                          Document
                                19221 Filed
                                      Filed06/28/21
                                            06/28/21 Page
                                                     Page88of
                                                           of88




                            JURY DEMAND

Plaintiff hereby requests a trial by jury on all triable issues herein.

                                  /s/ Gary Martoccio
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                                     8
